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                             UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION
    OPIATE LITIGATION
                                                              MDL No. 2804
    THIS DOCUMENT RELATES TO:
                                                              Case No. 17-md-2804
          Hospital Cases
                                                              Judge Dan Aaron Polster


    DEFENDANTS’ MOTION TO DISMISS WITH PREJUDICE CERTAIN HOSPITAL
            PLAINTIFFS FOR FAILURE TO SUBMIT FACT SHEETS

        Defendants 1 hereby move to dismiss with prejudice the claims of additional Hospital

Plaintiffs 2 that failed to submit fact sheets by the Court-ordered deadline of June 3, 2024. Plaintiffs

that fail to submit a fact sheet may be dismissed with prejudice under Fed. R. Civ. P. 41 for failure

to prosecute and for failure to comply with the Court’s orders. Doc. 4985 at 1, 4-6; Doc. 5340 at

1; Doc. 5382 at 1. The Court originally ordered all Hospital Plaintiffs to submit fact sheets by

January 26, 2024, warning that it would dismiss with prejudice the cases of any Hospital Plaintiffs

that failed to comply. Doc. 5257 at 1. Thereafter, the Court dismissed with prejudice many

Hospital Plaintiffs that failed to submit fact sheets or that failed to cure material deficiencies in

their fact sheets. Doc. 5382.




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  Defendants are Walmart Inc.; Walgreen Co. and Walgreen Eastern Co., Inc.; CVS Pharmacy, Inc.; The Kroger Co.;
Advantage Logistics Midwest, Inc.; AmerisourceBergen Corporation (n/k/a Cencora, Inc.), AmerisourceBergen Drug
Corporation; Bloodworth Wholesale Drugs, Inc.; Cardinal Health, Inc.; H. D. Smith, LLC f/k/a H. D. Smith Wholesale
Drug Co.; McKesson Corporation; Allergan Finance, LLC, Allergan Limited, Allergan Sales, LLC, Allergan USA,
Inc.; Johnson & Johnson, Janssen Pharmaceuticals, Inc.; Teva Pharmaceuticals USA, Inc., Cephalon, Inc., Actavis
Pharma, Inc., Actavis LLC, Watson Laboratories, Inc., and Anda, Inc.
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  Pursuant to the Court’s March 5, 2024 Order Regarding Hospital Fact Sheets, “for the purpose of this MDL, a
‘Hospital Plaintiff’ is a hospital or non-hospital healthcare provider whose complaint includes ‘claims relating to
unreimbursed and/or under-reimbursed care for patients with Opioid Use Disorder.’” Doc. 5340 at 1-2 (emphasis in
original).
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       In its March 5, 2024 Order Regarding Hospital Fact Sheets, the Court provided that certain

Hospital Plaintiffs listed in the Order “that may have previously been unaware of their obligation

to complete a [fact sheet], but which meet the Court’s clarified definition [of a Hospital Plaintiff],

shall have until Monday, June 3, 2024, to complete and submit a [fact sheet].” Doc. 5340 at 2. In

an Addendum to that Order dated March 21, 2024, the Court added additional Hospital Plaintiffs

to the group required to complete and submit fact sheets by June 3. Doc. 5369. Once again, the

Court warned that “[f]ailure to timely meet this requirement will result in the case being

dismissed.” Doc. 5340 at 2; Doc. 5369 at 1. The Hospital Plaintiffs listed below were among

those required to submit a fact sheet by June 3, 2024. Having failed to submit fact sheets by that

deadline, the Court should dismiss their claims with prejudice:

                                 Hospital Plaintiff                              Case No.
     1.    Big Bend Community Based Care, Inc.                              1:18-op-45493
     2.    Central Florida Behavioral Health Network, Inc                   1:18-op-45493
     3.    Central Florida Cares Health System, Inc.                        1:18-op-45493
     4.    Lutheran Services Florida, Inc.                                  1:18-op-45493
     5.    Southeast Florida Behavioral Health Network, Inc.                1:18-op-45493
     6.    Seattle Indian Health Bd                                         1:18-op-45745
     7.    Baton Rouge Area Alcohol and Drug Center, Inc.                   1:18-op-45757
     8.    O’Brien House Treatment Center                                   1:18-op-45757
     9.    Odyssey House Louisiana, Inc.                                    1:18-op-45757
     10.   Plaquemines Community Care Centers Foundation, Inc.              1:18-op-45757
     11.   STC Addiction Wellness Center, Inc.                              1:18-op-45757
     12.   Bellefonte Physician Services, Inc. (KY)                         1:18-op-45819
     13.   Bon Secours Health System, Inc. (KY)                             1:18-op-45819
     14.   Bon Secours Health System, Inc. (VA)                             1:18-op-45820
     15.   Bon Secours Health System, Inc. (SC)                             1:18-op-45821
     16.   St. Francis Physician Services, Inc.                             1:18-op-45821
     17.   Health Care & Rehab Services Southeastern Vermont, Inc.          1:20-op-45079
     18.   Northeast Kingdom, Human Services, Inc.                          1:20-op-45079
     19.   The Counseling Service of Addison County, Inc.                   1:20-op-45079
     20.   Mobile County Emergency Medical Services System Rescue           1:18-op-45148
           Squad, Inc.
     21.   Newman’s Medical Servs., Inc.                                    1:18-op-46020
     22.   Edna House for Women, Inc                                        1:18-op-46209



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      23.   Treatment Works Inc. d/b/a Absolute House                                   1:18-op-46209
      24.   K.I.S.S. Foundation Inc. d/b/a Lia House                                    1:18-op-46209
      25.   Lantern                                                                     1:18-op-46209
      26.   Primary Purpose Center Inc.                                                 1:18-op-46209
      27.   John T. Foundation d/b/a Jack Mulhall Center for Sober Living               1:18-op-46209

         For all of these reasons, Defendants hereby move to dismiss with prejudice under Fed. R.

Civ. P. 41 the cases brought by the above-named Hospital Plaintiffs. 3



Dated: June 14, 2024

                                                      Respectfully submitted,


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 Defendants are in the process of reviewing the fact sheets submitted by other Hospital Plaintiffs and will advise the
Court if additional dismissals are warranted due to their failure to comply with the Court’s directives.


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of June, 2024, I electronically filed a copy of the
foregoing with the Clerk of the Court using the CM/ECF system, which caused all parties or
counsel of record to be served


        Dated: June 14, 2024

                                                Respectfully submitted,


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